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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                    *
                                             *
        v.                                   *     CRIMINAL NO. 23-cr-257 (TSC)
                                             *
 DONALD J. TRUMP,                            *
                                             *
               Defendant.                    *
                                             *

                                   PROPOSED ORDER

       The Court has received and reviewed the Government’s Opposed Motion for Leave to File

Reply. For the reasons stated therein, and for good cause, the motion is GRANTED.



       SO ORDERED this _______ day of August 2023.


                                          ____________________________________
                                          TANYA S. CHUTKAN
                                          UNITED STATES DISTRICT JUDGE
